                        3:19-cv-03010-SEM-TSH # 104         Page 1 of 51
                                                                                                   E-FILED
                                                                   Monday, 03 August, 2020 04:34:32 PM
                                                                           Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

LARRY PIPPION, as Representative of )
the Estate of Larry Earvin,         )
                                    )
            Plaintiff,              )
                                    )
      -vs-                          )              No. 19-3010-SEM
                                    )
SGT. WILLIE HEDDEN, LT. BENJAMIN )
BURNETT, LT. BLAKE HAUBRICH,        )
C/O ALEX BANTA, WARDEN              )              JURY TRIAL DEMANDED
CAMERON WATSON, ASST. WARDEN )
STEVE SNYDER, Individually, et al., )
                                    )
            Defendants.             )


      DEFENDANTS HENDRICKS, VOLK, WATERSTRAAT, CONLEY, CRARY,
        FISHEL, LENNING, AND LINDSEY’S ANSWER AND AFFIRMATIVE
           DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT

        NOW COME the Defendants, Brett Hendricks, Shawn Volk, Richard Waterstraat, Shawn

Conley, Philip Crary, Robert Fishel, Daniel Lenning, and Matthew Lindsey, by and through their

attorney, Kwame Raoul, Attorney General of the State of Illinois, and for their Answer and

Affirmative Defenses to Plaintiff’s First Amended Complaint, state as follows:




        ANSWER: Defendants admit plaintiff has described the nature of this action, but deny he

is entitled to any relief in this matter.



Case No. 19-3010-SEM                                                                Page 1 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 2 of 51




        ANSWER: Defendants admit Larry Earvin was formerly housed at Western Illinois

Correctional Center and that he died on June 26, 2018. Defendants deny any claim they attacked

Plaintiff at any time. Defendants lack sufficient knowledge or information to form a belief about

the cause of Mr. Earvin’s death.

        Defendants Conley, Crary, Fishel, and Lenning deny seeing any Defendants attack Plaintiff

at any time, but lack sufficient knowledge or information to form a belief about the remaining

allegations contained in this paragraph.

        Defendant Volk admits that one of the Defendants did engage in a physical attack on Mr.

Earvin on May 17, 2018, but lacks knowledge or information sufficient to form a belief as to

whether this attack was “violent.” Defendant Volk lacks knowledge or information sufficient to

form a belief as to whether additional Defendants attacked Mr. Earvin on May 17, 2018.

        Defendant Waterstraat admits that one of the Defendants did engage in a violent physical

attack on Mr. Earvin on May 17, 2018. Defendant Waterstraat lacks knowledge or information

sufficient to form a belief as to whether additional Defendants attacked Mr. Earvin on May 17,

2018.

        Defendants Hendricks and Lindsey admit that one of the Defendants did engage in a violent

physical attack on Mr. Earvin on May 17, 2018. Defendants Hendricks and Lindsey lack

knowledge or information sufficient to form a belief as to whether additional Defendants attacked

Mr. Earvin on May 17, 2018.



Case No. 19-3010-SEM                                                                 Page 2 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 3 of 51




       ANSWER: Defendants admit the allegations in paragraph 2.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about

the allegations contained in this paragraph.




       ANSWER: Defendants admit Hedden, Burnett, Haubrich, Banta, Sheffler, Syrcle, Snell,

Hendricks, Hasten, Volk, Werries, Kurfman, Shaw, Richmiller, Waterstraat, Arens, Fishel, Crary,

Shoopman, Sorrells, McQuillen, Lenning, Thomas, Looker, Pool, Grawe, Chenoweth, Radecki,

Hughes, Lindsey, Session, Durell, Eichelberger, Shipman, and Wohlfiel were employed as security

staff at Western Illinois Correctional Center. Defendants lack sufficient knowledge or information

to form a belief about whether Hedden, Haubrich, Banta, or Sheffler were, at all relevant times,

acting within the scope of their employment and under color of law. Defendants admit that Burnett,

Syrcle, Snell, Hendricks, Hasten, Volk, Werries, Kurfman, Shaw, Richmiller, Waterstraat, Arens,

Case No. 19-3010-SEM                                                                  Page 3 of 51
                       3:19-cv-03010-SEM-TSH # 104             Page 4 of 51




Fishel, Crary, Shoopman, Sorrells, McQuillen, Lenning, Thomas, Looker, Pool, Grawe,

Chenoweth, Radecki, Hughes, Lindsey, Session, Durell, Eichelberger, Shipman, and Wohlfiel

were acting within the scope of their employment and under color of law. Defendants admit that

the people identified in this paragraph are being sued in their individual capacities.




       ANSWER: Defendants admit that Defendant Watson was, in part, responsible for the

implementation, oversight, and supervision of policies and practices at Western Illinois, and the

oversight and discipline of staff there, but deny that he was the sole person with those

responsibilities. Defendants also deny paragraph 5 contains a complete and accurate statement of

defendant Watson’s duties. Defendants admit the remaining allegations contained in this

paragraph.




       ANSWER: Defendants admit that Defendant Snyder was, in part, responsible for the

implementation, oversight, and supervision of policies and practices at Western Illinois, and the

oversight and discipline of staff there, but deny that he was the only person who had such



Case No. 19-3010-SEM                                                                     Page 4 of 51
                       3:19-cv-03010-SEM-TSH # 104              Page 5 of 51




responsibilities. Defendants deny paragraph 6 contains a complete and accurate statement of

defendant Snyder’s duties. Defendants admit the remaining allegations contained in this paragraph.




       ANSWER: Defendants deny that Conley and Hill were medical staff at Western

Correctional Center. Defendants admit Whitaker and Smith were medical staff at Western Illinois

Correctional Center. Defendants lack sufficient knowledge or information to form a belief about

the remaining allegations contained in paragraph 7.




       ANSWER: Defendants deny the Court has jurisdiction over plaintiff’s claims based on

state law. Defendants admit jurisdiction is otherwise proper. Defendants admit Plaintiff claims

relief under 42 U.S.C. § 1983 but deny Plaintiff is entitled to relief.




       ANSWER: Defendants admit the allegations contained in this paragraph.




       ANSWER: Defendants admit that Syrcle and Larry Earvin interacted on May 17, 2018 at


Case No. 19-3010-SEM                                                                  Page 5 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 6 of 51




or about 1:10 p.m. Defendants lack sufficient knowledge or information to form a belief about the

remaining allegations in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations in paragraph 11.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations in paragraph 12.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants admit Lt. Burnett called a Code 1 (Staff in Distress) and that

various defendants responded, including Hedden, Hendricks, Banta, and Sheffler.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




Case No. 19-3010-SEM                                                                 Page 6 of 51
                        3:19-cv-03010-SEM-TSH # 104         Page 7 of 51




       ANSWER: Defendants Hendricks, Volk, Conley, Crary, Fishel, and Lenning admit that

Larry Earvin was taken to segregation by various Defendant Officers, including Hedden,

Hendricks, Banta, and Sheffler. Defendants Hendricks, Volk, Conley, Crary, Fishel, and Lenning

lack sufficient knowledge or information to form a belief regarding the time that Mr. Earvin was

taken to segregation.

       Defendant Volk and Hendricks deny that Larry Earvin was “dragged” to segregation.

       Defendants Conley, Crary, Fishel, and Lenning lack sufficient knowledge or information

to form a belief about whether Mr. Earvin was “dragged” to segregation.

       Defendants Waterstraat and Lindsey lack sufficient knowledge or information to form a

belief about the allegations in this paragraph.




       ANSWER: Defendants Volk and Hendricks admit that they were in the segregation area at

or around 1:30 p.m., but deny beating or viciously attacking Earvin in segregation. Defendants

Volk and Hendricks admit they observed Alex Banta beat Mr. Earvin while he was on the ground

Case No. 19-3010-SEM                                                                Page 7 of 51
                       3:19-cv-03010-SEM-TSH # 104            Page 8 of 51




and handcuffed behind his back. Defendant Volk and Hendricks deny that they observed any

Defendant other than Banta beat Mr. Earvin. Defendants Volk and Hendricks lack knowledge or

information sufficient to form a belief about whether Defendant Banta “viciously” attacked Mr.

Earvin. Defendant Volk and Hendricks deny that any other Defendants attacked Mr. Earvin in the

segregation area. Defendants Volk and Hendricks admit that the beating administered to Mr.

Earvin by Defendant Banta (but not any other Defendants) included punching. Defendants Volk

and Hendricks deny that the beating administered to Mr. Earvin included kicking in the ribs or

striking him about the head.

       Defendant Volk denies that he or any other Defendant failed to intervene despite having a

reasonable opportunity to do so.

       Defendant Hendricks admits that he had a reasonable opportunity to intervene but did not

do so. To the extent this paragraph alleges that Defendant Hendricks intentionally failed to

intervene, that allegation is denied. Defendant Hendricks lacks knowledge or information

sufficient to form a belief regarding whether any other Defendant officers could have intervened.

       Defendant Lindsey admits that he was in the segregation area at or around 1:30 p.m.

Defendant Lindsey admits he observed Alex Banta beat and viciously attack Mr. Earvin while he

was on the ground and handcuffed behind his back. Defendant Lindsey denies that he observed

any Defendants other than Banta beat or viciously attack Mr. Earvin. Defendant Lindsey denies

that he failed to intervene despite having a reasonable opportunity to do so. Defendant Lindsey

admits that some officers failed to intervene despite having a reasonable opportunity to do so, but

lacks knowledge or information sufficient to form a belief about the specific identities of those

individuals, including whether those officers are Defendant Officers. Defendant Lindsey admits

that the beating administered to Mr. Earvin by Defendant Banta (but not any other Defendants)



Case No. 19-3010-SEM                                                                   Page 8 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 9 of 51




included punching. Defendant Lindsey lacks knowledge or information sufficient to form a belief

about whether the beating administered to Mr. Earvin included kicking in the ribs or striking him

about the head.

       Defendants Waterstraat, Conley, Crary, Fishel, and Lenning deny being in the segregation

area at or around 1:30 p.m. Defendants Waterstraat, Conley, Crary, Fishel, and Lenning deny

beating or attacking Mr. Earvin. Defendants Waterstraat, Conley, Crary, Fishel, and Lenning deny

that they failed to intervene despite having a reasonable opportunity to do so. Defendants

Waterstraat, Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient to form

a belief about the remaining allegations in paragraph 17.




       ANSWER: Defendants admit there is one witness statement indicating there were 30-40

officers “involved.” Defendants deny that there is more than one witness statement making this

claim. Defendants admit that Larry Earvin died weeks after May 17, 2018. Defendants lack

sufficient knowledge or information to form a belief about the remaining allegations contained in

this paragraph.




       ANSWER: Defendant Volk denies that he or any other Defendant officers failed to

intervene in “the beating” despite having a reasonable opportunity to do so.

       Defendant Hendricks admits that he did not intervene in Defendant Banta’s use of force

despite having a reasonable opportunity to do so. To the extent this paragraph alleges that



Case No. 19-3010-SEM                                                                 Page 9 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 10 of 51




Defendant Hendricks intentionally failed to intervene, that allegation is denied. Defendant

Hendricks lacks knowledge or information sufficient to form a belief about whether other

Defendant Officers failed to intervene in the “beating” despite having a reasonable opportunity to

do so.

         Defendants Waterstraat, Conley, Crary, Fishel, and Lenning deny that they failed to

intervene in “the beating” despite having a reasonable opportunity to do so. Defendants

Waterstraat, Conley, Crary, Fishel, and Lenning were not present in segregation, and therefore

were not present for “the beating,” therefore Defendants Waterstraat, Conley, Crary, Fishel, and

Lenning lack sufficient knowledge or information to form a belief about whether other Defendant

Officers failed to intervene in “the beating” despite having a reasonable opportunity to do so.

         Defendant Lindsey denies that he failed to intervene in “the beating” despite having a

reasonable opportunity to do so. Defendant Lindsey admits that none of the other officers present

intervened in “the beating” despite having a reasonable opportunity to do so, but lacks knowledge

or information sufficient to form a belief about who those officers were, including whether they

were Defendant Officers.




         ANSWER: Defendants Hendricks, Volk, Waterstraat, Conley, Crary, and Lenning lack


Case No. 19-3010-SEM                                                                  Page 10 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 11 of 51




sufficient knowledge or information to form a belief about the allegations contained in this

paragraph.

       Defendant Fishel admits that Nurse Duesenberg performed a medical assessment of Mr.

Earvin. Defendant Fishel lacks knowledge or information sufficient to form a belief about the

remaining allegations in this paragraph.

       Defendant Lindsey admits that, at or about 1:45 p.m., Nurse Duesenberg arrived to perform

a medical assessment of Mr. Earvin, but denies Mr. Earvin was in a cell at this time. Defendant

Lindsey lacks sufficient knowledge or information to form a belief about the remaining allegations

in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




Case No. 19-3010-SEM                                                                 Page 11 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 12 of 51




       ANSWER: Defendants admit that Duesenberg indicated in a report that the plan for

treatment was to place Mr. Earvin on continuous watch, administer ibuprofen for pain, to be re-

evaluated by the nurse, and “a follow-up at final destination due to being transferred out tomorrow

5/18/18 per security.”




       ANSWER: Defendants deny paragraph 24.




       ANSWER: Defendants Hendricks, Volk, Waterstraat, Conley, Crary, Fishel, and Lenning

lack sufficient knowledge or information to form a belief about the allegations contained in this

paragraph.

       Defendant Lindsey admits he was present for Duesenberg’s initial medical assessment of

Mr. Earvin. Defendant Lindsey denies the remaining allegations in this paragraph.




       ANSWER: Defendants admit the allegations contained in this paragraph.




Case No. 19-3010-SEM                                                                  Page 12 of 51
                       3:19-cv-03010-SEM-TSH # 104            Page 13 of 51




       ANSWER: Defendant Volk admits that some of the Defendants were treated by medical

staff on May 17, 2018. Defendant Volk lacks knowledge or information sufficient to form a belief

about whether those being treated had viciously attacked Mr. Earvin, and lacks knowledge or

information sufficient to form a belief about the remaining allegations in this paragraph.

       Defendant Hendricks admits that Defendant Banta attacked Mr. Earvin and was then

treated for injuries by medical staff, but lacks knowledge or information sufficient to form a belief

regarding what Banta’s injuries were or what specific treatments he received. Defendant Hendricks

admits that medical staff treated him, but denies that he attacked Mr. Earvin. Defendant Hendricks

admits that other Defendant Officers besides Banta were treated by medical staff for injuries, but

lacks knowledge or information sufficient to form a belief regarding whether those Defendant

officers other than Banta attacked Mr. Earvin.

       Defendants Waterstraat, Conley, Crary, Fishel, Lenning, and Lindsey lack sufficient

knowledge or information to form a belief about the allegations contained in this paragraph.




       ANSWER: Defendants admit Defendant Session had contact with Mr. Earvin around 2:15

p.m. on May 17, 2018. Defendants lack knowledge or information sufficient to form a belief about

the remaining allegations in paragraph 28.


Case No. 19-3010-SEM                                                                   Page 13 of 51
                       3:19-cv-03010-SEM-TSH # 104       Page 14 of 51




       ANSWER: Defendants admit that Earvin was placed on a crisis watch due to “unusual

behavior that is concerning and need for further observation.” Defendants deny that Defendant

Conley was the person who placed Mr. Earvin on the crisis watch. Defendants lack sufficient

knowledge or information to form a belief about the remaining allegations contained in this

paragraph.




       ANSWER: Defendants deny that Hubbard is a Defendant. Defendants lack sufficient

knowledge or information to form a belief about the remaining allegations contained in this

paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




Case No. 19-3010-SEM                                                            Page 14 of 51
                       3:19-cv-03010-SEM-TSH # 104       Page 15 of 51




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.


Case No. 19-3010-SEM                                                            Page 15 of 51
                       3:19-cv-03010-SEM-TSH # 104       Page 16 of 51




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




Case No. 19-3010-SEM                                                            Page 16 of 51
                       3:19-cv-03010-SEM-TSH # 104        Page 17 of 51




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants admit an ambulance was called. Defendants deny that they

violently attacked Earvin.

       Defendants Hendricks, Volk, Waterstaat, Fishel, and Lindsey deny that Earvin’s injuries


Case No. 19-3010-SEM                                                             Page 17 of 51
                       3:19-cv-03010-SEM-TSH # 104             Page 18 of 51




were visibly apparent and obviously severe to all who observed him. Defendants Hendricks, Volk,

Waterstaat, Fishel, and Lindsey lack sufficient knowledge or information to form a belief about

the remaining allegations contained in this paragraph.

       Defendants Conley, Crary, and Lenning lack sufficient knowledge or information to form

a belief about whether Mr. Earvin’s injuries were visibly apparent and obviously severe to all who

observed him. Defendants Conley, Crary, and Lenning lack sufficient knowledge or information

to form a belief about the remaining allegations in this paragraph.




       ANSWER: Defendants admit that Mr. Earvin was transported to Culbertson Memorial

Hospital via ambulance. Defendants lack sufficient knowledge or information to form a belief

about the remaining allegations contained in this paragraph.




       ANSWER: Defendants admit that Defendants Hedden and Banta completed reports in

which they stated that Mr. Earvin was turned over to staff in segregation without further incident.

Defendants deny that they wrote incident reports.

       Defendant Hendricks denies his incident report falsely indicated that Mr. Earvin was turned

over to segregation staff “without further incident.”

       Defendants Hendricks, Volk, and Lindsey admit that the incident reports written by

Hedden and Banta were false in that they wrote Mr. Earvin was turned over to staff in segregation

“without further incident.”


Case No. 19-3010-SEM                                                                  Page 18 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 19 of 51




       Defendants Waterstraat, Conley, Crary, Fishel, and Lenning lack sufficient knowledge or

information to form a belief about whether Hedden and Banta’s, or other Defendant Officers’,

incident reports falsely indicated that Mr. Earvin was turned over to staff in segregation “without

further incident.”




       ANSWER: Defendants admit that, after arrival at Culbertson Memorial Hospital, Mr.

Earvin was airlifted to St. John’s Hospital in Springfield. Defendants lack sufficient knowledge or

information to form a belief about the remaining allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




Case No. 19-3010-SEM                                                                  Page 19 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 20 of 51




       ANSWER: Defendants lack sufficient knowledge or information to form a belief about the

allegations contained in this paragraph.




       ANSWER: Defendants deny that they engaged in any misconduct which caused pain and

suffering to Mr. Earvin. Defendants admit that Mr. Earvin died on June 26, 2018.

       Defendants Hendricks, Volk and Lindsey admit that as a direct result of Defendant Banta’s

misconduct, Mr. Earvin experienced unnecessary pain and suffering. Defendants Hendricks, Volk,

and Lindsey lack sufficient knowledge or information to form a belief about the remaining

allegations in this paragraph.

       Defendant Waterstraat admits that as a direct result of Defendant Hedden’s misconduct,

Mr. Earvin experienced unnecessary pain and suffering. Defendant Waterstraat lacks sufficient

knowledge or information to form a belief about the remaining allegations in this paragraph.




       RESPONSE: Defendants admit the allegations contained in paragraph 49.




       ANSWER: Defendants deny that they engaged in any misconduct and deny that Plaintiff


Case No. 19-3010-SEM                                                                Page 20 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 21 of 51




Pippion suffered injury due to their conduct. Defendants lack sufficient knowledge or information

to form a belief about the remaining allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants admit IDOC policy requires officers who use force to submit

incident reports.   Defendants admit Watson and Snyder review some incident reports and

grievances related to use of force, but deny they see all such documents.




Case No. 19-3010-SEM                                                                Page 21 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 22 of 51




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants Hendricks, Conley, Crary, Fishel, Lenning, Volk, and Lindsey

deny using any force against Mr. Earvin.

       Defendants Conley, Crary, Fishel, and Lenning lack sufficient knowledge or information

to form a belief about the remaining allegations in this paragraph.

       Defendant Waterstraat admits that he used force against Mr. Earvin, but denies that his use

of force was “as set forth above.” Defendant Waterstraat denies that his use of force caused Mr.

Earvin’s death. Defendant Waterstraat denies that his use of force was unreasonable in light of the

facts and circumstances at the time that the force was used. Defendant Waterstraat lacks sufficient

knowledge or information to form a belief about whether the other Defendant Officers used force

against Mr. Earvin “as set forth above” and therefore lacks sufficient knowledge or information to


Case No. 19-3010-SEM                                                                  Page 22 of 51
                       3:19-cv-03010-SEM-TSH # 104              Page 23 of 51




form a belief about the remaining allegations in this paragraph.

       Defendants Hendricks, Volk, and Lindsey lack sufficient knowledge or information to form

a belief about whether any use of force caused Mr. Earvin’s death. Defendants Hendricks, Volk,

and Lindsey deny that the allegations “set forth above” are a complete and accurate description of

the use of force against Mr. Earvin, but admit that Defendant Officer Banta intentionally used force

against Mr. Earvin, and that the use of force was unreasonable in light of the facts and

circumstances present at the time that the force was used.




       ANSWER: Defendants Hendricks, Conley, Crary, Fishel, Lenning, Volk, and Lindsey

deny using any force against Mr. Earvin.

       Defendants Conley, Crary, Fishel, and Lenning lack sufficient knowledge or information

to form a belief about the remaining allegations in this paragraph.

       Defendants Hendricks, Volk, and Lindsey admit that Defendant Banta intentionally used

force against Mr. Earvin and that the use of force was excessive and cruel towards Mr. Earvin for

the very purpose of causing harm, and that the force was not in a good faith effort to maintain or

restore security or discipline. Defendants Hendricks, Volk, and Lindsey lack sufficient knowledge

or information to form a belief about whether any other Defendant officers (besides Banta)

intentionally used excessive cruelty toward Mr. Earvin for the very purpose of causing harm, and

not in a good faith effort to maintain or restore security or discipline.

       Defendant Waterstraat admits that he used force against Mr. Earvin. Defendant Waterstraat

denies that he intentionally used excessive cruelty toward Mr. Earvin for the very purpose of



Case No. 19-3010-SEM                                                                   Page 23 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 24 of 51




causing harm, and further denies that his use of force was not a good faith effort to maintain or

restore security or discipline. Defendant Watersraat admits that Defendant Hedden used force

against Mr. Earvin, and that the use of force was intentionally excessive and cruel towards Mr.

Earvin for the very purpose of causing harm and not in a good faith effort to maintain or restore

security or discipline. Defendant Waterstraat lacks sufficient knowledge or information to form a

belief regarding whether any other Defendant officers (besides Hedden) intentionally used

excessive cruelty toward Mr. Earvin for the very purpose of causing harm, and not in a good faith

effort to maintain or restore security or discipline.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny that they engaged in unjustified or unconstitutional conduct

that caused damages to Mr. Earvin.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about the remaining allegations in this paragraph.

       Defendants Hendricks, Lindsey and Volk admit that Banta engaged in unjustified conduct

that caused Mr. Earvin pain, suffering, and injury. Defendants Hendricks, Volk and Lindsey lack

sufficient knowledge or information to form a belief about whether this conduct was

unconstitutional. Defendants Hendricks, Volk and Lindsey lack sufficient knowledge or

information to form a belief about the remaining allegations in this paragraph.


Case No. 19-3010-SEM                                                                Page 24 of 51
                       3:19-cv-03010-SEM-TSH # 104         Page 25 of 51




       Defendant Waterstraat admits that Hedden engaged in unjustified conduct that caused Mr.

Earvin pain, suffering, and injury. Defendant Waterstraat lacks sufficient knowledge or

information to form a belief about whether this conduct was unconstitutional. Defendant

Waterstraat lacks sufficient knowledge or information to form a belief about the remaining

allegations in this paragraph.




       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants deny the allegations in this paragraph.




       ANSWER: Defendants deny that they knew or were aware of a substantial risk of harm to

Case No. 19-3010-SEM                                                                  Page 25 of 51
                       3:19-cv-03010-SEM-TSH # 104            Page 26 of 51




Mr. Earvin’s safety, deny consciously disregarding the alleged risk, and deny failing to take

reasonable steps to prevent the alleged harm from happening. Defendants lack sufficient

knowledge or information to form a belief about whether any other Defendants knew or were

aware of a substantial risk of harm to Mr. Earvin’s safety but consciously disregarded that risk by

failing to take reasonable steps to prevent the harm.




       ANSWER: Defendants deny that they intentionally failed to act, and deny that they acted

with malice or deliberate indifference to Mr. Earvin’s rights. Defendants lack sufficient knowledge

or information to form a belief about whether any other Defendants intentionally failed to act, with

malice or deliberate indifference to Mr. Earvin’s rights.




       ANSWER: Defendants Volk, Waterstraat, Conley, Crary, Fishel, and Lindsey deny that

they unconstitutionally failed to intervene and deny causing damage to Mr. Earvin.

       Defendant Hendricks admits he did not intervene but denies this was unconstitutional.

Defendant Hendricks denies Mr. Earvin sustained pain, suffering, and injury because he did not

intervene. Defendant Hendricks lacks knowledge or information sufficient to form a belief

regarding the remaining allegations in this paragraph.

       Defendants Volk, Waterstraat, Conley, Crary, Fishel, and Lenning lack sufficient

knowledge or information to form a belief about whether any other Defendants unconstitutionally

failed to intervene, or whether any alleged failure to intervene caused damages to Mr. Earvin.

       Defendant Lindsey admits that some officers failed to intervene, but lacks knowledge or


Case No. 19-3010-SEM                                                                   Page 26 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 27 of 51




information sufficient to form a belief about which officers failed to intervene, or whether those

officers are Defendant Officers. Defendant Lindsey lacks sufficient knowledge or information to

form a belief about whether the failure to intervene was unconstitutional or whether Mr. Earvin

sustained damages as a result of the failure to intervene.




       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




Case No. 19-3010-SEM                                                                  Page 27 of 51
                       3:19-cv-03010-SEM-TSH # 104             Page 28 of 51




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations in this paragraph to the extent it asserts that

Watson and Snyder were the only individuals responsible for the creation, implementation,

oversight, and supervision of policies, practices, and procedures regarding use of force at

Western Illinois; the training of correctional staff at Western Illinois on use of force; or the

supervision and discipline of correctional staff at Western Illinois. Defendants admit that Watson

and Snyder, among others, are responsible for the creation, implementation, oversight, and

Case No. 19-3010-SEM                                                                     Page 28 of 51
                       3:19-cv-03010-SEM-TSH # 104             Page 29 of 51




supervision of policies, practices, and procedures regarding use of force at Western Illinois; the

training of correctional staff at Western Illinois on use of force; or the supervision and discipline

of correctional staff at Western Illinois.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny that they caused Mr. Earvin’s injuries. Defendants deny that

any injuries were caused by employees acting pursuant to any alleged de facto policies as described

above at Western Illinois, and deny that any alleged de facto policies were ratified by Watson and

Snyder.

       Defendants Conley, Crary, Fishel, and Lenning lack sufficient knowledge or information

to form a belief about the remaining allegations in this paragraph.

       Defendants Hendricks, Lindsey and Volk admit that Defendant Banta caused injury to Mr.

Earvin, but lack sufficient knowledge or information to form a belief about whether Defendant

Banta caused all of Mr. Earvin’s injuries. Defendants Hendricks, Lindsey, and Volk lack sufficient

knowledge or information to form a belief about whether defendant officers other than Banta

caused injuries to Mr. Earvin.


Case No. 19-3010-SEM                                                                    Page 29 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 30 of 51




       Defendant Waterstraat admits that Defendant Hedden caused injury to Mr. Earvin, but

lacks sufficient knowledge or information to form a belief about whether Defendant Hedden

caused all of Mr. Earvin’s injuries. Defendant Waterstraat lacks sufficient knowledge or

information to form a belief about whether defendant officers other than Hedden caused injuries

to Mr. Earvin.

       WHEREFORE, Plaintiff, Larry Pippion as the Representative of the Estate of Larry Earvin,

demands judgment in favor of Plaintiff and against Defendants awarding compensatory damages,

punitive damages, attorney’s fees and costs, and for such other and further relief as the Court may

deem just and appropriate.

       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants admit that Mr. Earvin was an inmate in the custody of IDOC, but

deny that all of the identified defendants were responsible for providing medical services.




Case No. 19-3010-SEM                                                                  Page 30 of 51
                        3:19-cv-03010-SEM-TSH # 104           Page 31 of 51




       ANSWER: Defendants deny there is a constitutional right to receive proper and adequate

medical care while incarcerated and under the custody and control of the Defendants. Defendants

admit that there is a clearly established right under the United States Constitution to be free from

deliberate indifference to known serious medical needs, but deny that this is a full and complete

statement of the law.




       ANSWER: Defendants admit that, as of May 17, 2018, they knew that there is a clearly

established right under the United States Constitution to be free from deliberate indifference to

known serious medical needs. Defendants deny the remaining allegations in this paragraph.




       ANSWER: Defendants admit that Mr. Earvin had several fractured ribs and internal

injuries, but deny this paragraph to the extent it alleges that Defendants were aware of these

internal injuries. Defendants lack sufficient knowledge or information to form a belief about the

remaining allegations contained in this paragraph.




Case No. 19-3010-SEM                                                                   Page 31 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 32 of 51




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants Hendricks, Volk, Waterstraat, Crary, and Lenning lack sufficient

knowledge or information to form a belief about the allegations contained in this paragraph.

       Defendant Conley denies the allegations in this paragraph.

       Defendant Lindsey admits that he had contact with Mr. Earvin subsequent to the beating.

Defendant Lindsey denies the remaining allegations in this paragraph.

       Defendant Fishel admits that he had contact with Mr. Earvin subsequent to when Mr.

Earvin was brought to segregation, but lacks knowledge or information sufficient to form a belief

about whether this was after “the beating.” Defendant Fishel denies the remaining allegations in

this paragraph.




Case No. 19-3010-SEM                                                                 Page 32 of 51
                       3:19-cv-03010-SEM-TSH # 104      Page 33 of 51




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




Case No. 19-3010-SEM                                                          Page 33 of 51
                       3:19-cv-03010-SEM-TSH # 104         Page 34 of 51




       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.


Case No. 19-3010-SEM                                                                  Page 34 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 35 of 51




       ANSWER: Defendants Hendricks, Volk and Lindsey admit that Banta is an employee of

IDOC and injured Mr. Earvin but lack sufficient knowledge or information to form a belief about

whether all of Mr. Earvin’s injuries were caused by employees of IDOC.

       Defendant Waterstraat admits that Hedden is an employee of IDOC and injured Mr.

Earvin but lacks sufficient knowledge or information to form a belief about whether all of Mr.

Earvin’s injuries were caused by employees of IDOC.

       Defendants Conley, Crary, Fishel, and Lenning lack sufficient knowledge or information

to form a belief about the cause of Mr. Earvin’s injuries.

       Defendants deny the remaining allegations contained in this paragraph.




       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




Case No. 19-3010-SEM                                                                  Page 35 of 51
                       3:19-cv-03010-SEM-TSH # 104            Page 36 of 51




       ANSWER: Defendants deny they beat Mr. Earvin to death and deny abusing their power

or engaging in extreme and outrageous conduct.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about the remaining allegations in this paragraph.

       Defendants Hendricks, Volk and Lindsey deny that all of the allegations “as set forth

above” are a true and accurate statement of the beating of Mr. Earvin. Defendants Hendricks,

Volk and Lindsey admit that Defendant Banta, by beating Mr. Earvin, abused his power and

engaged in extreme and outrageous conduct. Defendants Hendricks, Volk and Lindsey lack

knowledge or information sufficient to form a belief about whether Defendant Banta beat Mr.

Earvin “to death.”

       Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether “as set forth above” Mr. Earvin was beaten to death without legal justification, or

whether Defendant Officers “as set forth above” abused their power and engaged in extreme and

outrageous conduct.




       ANSWER: Defendants deny that they engaged in the actions alleged in this paragraph,

and deny that they acted intentionally or with the knowledge that there was a strong likelihood

that their conduct would inflict severe emotional distress or with reckless disregard of that

likelihood.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about the remaining allegations in this paragraph.


Case No. 19-3010-SEM                                                                   Page 36 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 37 of 51




       Defendants Hendricks, Lindsey and Volk deny that the actions “set forth above” are a

complete and accurate statement of what occurred. Defendants Hendricks, Lindsey and Volk

admit that Defendant Banta’s actions were done intentionally. Defendants Hendricks, Lindsey

and Volk lack sufficient knowledge or information to form a belief about whether Banta acted

with the knowledge that there was a strong likelihood that the conduct would inflict severe

emotional distress and with reckless disregard of that likelihood. Defendants Hendricks, Lindsey

and Volk lack sufficient knowledge or information to form a belief about whether other

Defendant officers named in this Count acted in the manner alleged in this paragraph.

       Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether the actions “as set forth above” were done intentionally or with the knowledge that there

was a strong likelihood that the conduct would inflict severe emotional distress and with reckless

disregard of that likelihood.




       ANSWER: Defendants deny that they acted in the manner alleged in this paragraph, and

deny that their actions were undertaken intentionally, with malice, or with reckless indifference

to Mr. Earvin’s rights.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about the remaining allegations in this paragraph.

       Defendants Hendricks, Lindsey and Volk deny that the actions “set forth above” are a

complete and accurate statement of what occurred. Defendants Hendricks, Lindsey and Volk

admit Defendant Banta’s actions were undertaken intentionally, but lack sufficient knowledge or

information to form a belief about whether Defendant Banta acted with malice or with reckless


Case No. 19-3010-SEM                                                                  Page 37 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 38 of 51




indifference to Mr. Earvin’s rights. Defendants Hendricks, Lindsey and Volk lack sufficient

knowledge or information to form a belief about whether other Defendant officers named in this

Count acted in the manner alleged in this paragraph.

       Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether the actions “as set forth above” were done intentionally, with malice, and/or with

reckless indifference to Mr. Earvin’s rights.




       ANSWER: Defendants deny engaging in misconduct and deny that Mr. Earvin sustained

any damages as a direct and proximate result of their conduct. Defendants lack sufficient

knowledge or information to form a belief about whether Mr. Earvin sustained damages as a

result of any misconduct of other Defendant officers named in this Count.




       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.



Case No. 19-3010-SEM                                                                  Page 38 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 39 of 51




       ANSWER: Defendants deny that they intentionally made physical contact with Mr. Earvin

without just cause, and deny that any contact by them was offensive or harmful.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about whether other Defendant officers engaged in the conduct alleged in this

paragraph.

       Defendants Hendricks, Lindsey and Volk deny that all of the allegations “as set forth

above” are a true and accurate statement of what occurred. Defendants Hendricks, Lindsey and

Volk admit that Defendant Banta intentionally made contact with Mr. Earvin and that the physical

contact was harmful and offensive but lack knowledge or information about whether the contact

was without just cause.

       Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether “as set forth above” Defendant Officers intentionally made contact with Mr. Earvin

without just cause, or whether the contact was offensive and harmful.

       99.   The actions of the Defendant officers were intentional, willful, and wanton.

       ANSWER: Defendants deny that their actions were intentional, willful, or wanton.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about whether other Defendant Officers’ actions were intentional, willful, or

wanton.

       Defendants Hendricks, Volk and Lindsey admit that Defendant Banta’s actions were

intentional, willful, and wanton.




Case No. 19-3010-SEM                                                                 Page 39 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 40 of 51




       Defendant Waterstraat admits that Defendant Hedden’s actions were intentional, willful,

and wanton.

       Defendants Hendricks, Volk, Lindsey, and Waterstraat lack knowledge or information

sufficient to form a belief about whether other Defendant Officers’ actions were intentional,

willful, or wanton.




       ANSWER: Defendants deny that they engaged in misconduct and deny they acted with

intentional disregard of Mr. Earvin’s rights.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about whether Defendant Officers engaged in misconduct with intentional

disregard of Mr. Earvin’s rights.

       Defendants Hendricks, Volk and Lindsey deny that all of the allegations “as set forth

above” are a true and accurate statement of what occurred. Defendants Hendricks, Volk and

Lindsey admit that the misconduct by Alex Banta was undertaken with intentional disregard of

Mr. Earvin’s rights. Defendants Hendricks, Volk and Lindsey lack knowledge or information

sufficient to form a belief about whether other Defendant officers engaged in misconduct with

intentional disregard of Mr. Earvin’s rights.

       Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether “as set forth herein” Defendant officers engaged in misconduct with intentional

disregard for Mr. Earvin’s rights.




Case No. 19-3010-SEM                                                                Page 40 of 51
                       3:19-cv-03010-SEM-TSH # 104            Page 41 of 51




       ANSWER: Defendants deny that they engaged in misconduct. Defendants lack sufficient

knowledge or information to form a belief about the allegations in this paragraph.




       ANSWER: Defendants deny that Plaintiff is entitled to relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants deny that their actions, or the actions of Watson and Snyder,

breached their duty of care to the prisoners in their custody by using excessive force against Mr.

Earvin or failing to intervene to prevent the use of force against him.

       Defendants lack sufficient knowledge or information to form a belief about whether the

other Defendant officers sued in this Count engaged in the conduct alleged.




Case No. 19-3010-SEM                                                                  Page 41 of 51
                       3:19-cv-03010-SEM-TSH # 104           Page 42 of 51




       ANSWER: Defendants deny the allegations contained in this paragraph in regards to

themselves, Watson, and Snyder.

       Defendants Conley, Crary, Fishel, and Lenning lack sufficient knowledge or information

to form a belief about whether the other Defendant officers sued in this Count engaged in the

conduct alleged.

       Defendant Waterstraat admits that Defendant Hedden’s actions were willful and wanton

in that he demonstrated a complete indifference to the safety of Earvin and was aware that an

injury would likely result from his acts and recklessly disregarded the consequences of those

acts. Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether other Defendants acted or failed to act in the manner alleged.

       Defendants Hendricks, Volk and Lindsey admit that Defendant Banta’s actions were

willful and wanton in that he demonstrated a complete indifference to the safety of Earvin and

was aware that an injury would likely result from his acts and recklessly disregarded the

consequences of those acts. Defendants Hendricks, Volk and Lindsey lack knowledge or

information sufficient to form a belief about whether other Defendants acted or failed to act in

the manner alleged.




       ANSWER: Defendants deny the allegations contained in this paragraph in regards to

themselves, Watson, and Snyder.

Case No. 19-3010-SEM                                                                  Page 42 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 43 of 51




       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about whether other Defendant officers engaged in misconduct with intentional

disregard of Mr. Earvin’s rights.

       Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether the misconduct “set forth herein” by other Defendant officers was undertaken with

intentional disregard of Mr. Earvin’s rights.

       Defendants Hendricks, Volk and Lindsey deny that the misconduct “set forth herein”

completely or accurately describes what occurred. Defendants Hendricks, Volk and Lindsey

admit that Defendant Banta engaged in misconduct with intentional disregard of Mr. Earvin’s

rights. Defendants Hendricks, Lindsey and Volk lack knowledge or information sufficient to

form a belief about whether other Defendant officers engaged in misconduct with intentional

disregard for Mr. Earvin’s rights.




       ANSWER: Defendants deny the allegations contained in this paragraph in regards to

themselves, Watson, and Snyder.

       Defendants Conley, Crary, Fishel, and Lenning lack sufficient knowledge or information

to form a belief about whether the other Defendant officers engaged in the conduct alleged.

       Defendant Waterstraat admits that as a result of Hedden’s misconduct, Mr. Earvin

sustained pain and suffering before his death.

       Defendants Hendricks, Volk and Lindsey admit that as a result of Banta’s misconduct,

Mr. Earvin sustained pain and suffering before his death.

       Defendants Hendricks, Lindsey, Volk, and Waterstraat lack knowledge or information


Case No. 19-3010-SEM                                                                Page 43 of 51
                       3:19-cv-03010-SEM-TSH # 104            Page 44 of 51




sufficient to form a belief about the remaining allegation in this paragraph.




       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants deny that they intentionally made physical contact with Mr.

Earvin without just cause and deny any offensive or harmful physical contact.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about whether other Defendant officers engaged in the conduct alleged in this

paragraph.

       Defendants Hendricks, Lindsey and Volk deny that all of the allegations “as set forth

above” are a true and accurate statement of what occurred. Defendants Hendricks, Lindsey and

Volk admit that Defendant Banta intentionally made contact with Mr. Earvin and that the physical

contact was harmful and offensive but lack knowledge information as to whether the contact was

made without just cause.


Case No. 19-3010-SEM                                                                  Page 44 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 45 of 51




       Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether “as set forth above” Defendant Officers intentionally made contact with Mr. Earvin

without just cause, or whether the contact was offensive and harmful.




       ANSWER: Defendants deny that their actions were intentional, willful, or wanton.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about whether other Defendant Officers’ actions were intentional, willful, or

wanton.

       Defendants Hendricks, Volk and Lindsey admit that Defendant Banta’s actions were

intentional, willful, and wanton.

       Defendant Waterstraat admits that Defendant Hedden’s actions were intentional, willful,

and wanton.

       Defendants Hendricks, Volk, Lindsey, and Waterstraat lack knowledge or information

sufficient to form a belief about whether other Defendant Officers’ actions were intentional,

willful, or wanton.




       ANSWER: Defendants deny that they engaged in misconduct and deny they acted with

intentional disregard of Mr. Earvin’s rights.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about whether other Defendant Officers engaged in misconduct with intentional

disregard of Mr. Earvin’s rights.

       Defendants Hendricks, Volk and Lindsey deny that all of the allegations “as set forth


Case No. 19-3010-SEM                                                                Page 45 of 51
                       3:19-cv-03010-SEM-TSH # 104             Page 46 of 51




above” are a true and accurate statement of what occurred. Defendants Hendricks, Volk and

Lindsey admit that the misconduct by Alex Banta was undertaken with intentional disregard of

Mr. Earvin’s rights. Defendants Hendricks, Volk and Lindsey lack knowledge or information

sufficient to form a belief about whether other Defendant officers engaged in misconduct with

intentional disregard of Mr. Earvin’s rights.

       Defendant Waterstraat lacks knowledge or information sufficient to form a belief about

whether “as set forth herein” Defendant officers engaged in misconduct with intentional

disregard for Mr. Earvin’s rights.




       ANSWER: Defendants deny engaging in misconduct and deny that Mr. Earvin sustained

damages or died as a direct or proximate result of their actions. Defendants lack sufficient

knowledge or information to form a belief about whether Mr. Earvin sustained damages

including death as a direct and proximate result of misconduct by the Defendant officers sued in

this Count.




       ANSWER: Defendants admit that Plaintiff is claiming the damages contained in this

paragraph but deny Plaintiff is entitled to any relief against them.




Case No. 19-3010-SEM                                                                  Page 46 of 51
                       3:19-cv-03010-SEM-TSH # 104            Page 47 of 51




       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants deny that their actions breached their duty of care to the prisoners

in their custody by using excessive force against Mr. Earvin and/or failing to intervene to prevent

the use of excessive force against him.

       Defendants lack knowledge or information sufficient to form a belief about whether other

Defendant officers breached their duty of care by using excessive force against Mr. Earvin or

failing to intervene to prevent the use of excessive force against him.




Case No. 19-3010-SEM                                                                  Page 47 of 51
                       3:19-cv-03010-SEM-TSH # 104            Page 48 of 51




       ANSWER: Defendants deny that their actions were willful, or wanton, deny that they

demonstrated a complete indifference to the safety of others, and deny that they were aware that

an injury would likely result from their acts or failures to act or that they recklessly disregarded

the consequences of those acts or failures to act.

       Defendants Conley, Crary, Fishel, and Lenning lack knowledge or information sufficient

to form a belief about whether other Defendant Officers’ actions were as described in this

paragraph.

       Defendants Hendricks, Volk and Lindsey admit that Defendant Banta’s actions were

willful and wanton, demonstrated a complete indifference to the safety of others, and that Banta

was aware that an injury would likely result from his actions.

       Defendant Waterstraat admits that Defendant Hedden’s actions were willful and wanton,

demonstrated a complete indifference to the safety of others, and that Hedden was aware that an

injury would likely result from his actions.

       Defendants Hendricks, Volk, Lindsey, and Waterstraat lack knowledge or information

sufficient to form a belief about whether other Defendant Officers’ actions were as described in

this paragraph.




       ANSWER: Defendants deny engaging in misconduct and deny that Mr. Earvin sustained

any damages as a direct and proximate result of their conduct. Defendants lack sufficient

knowledge or information to form a belief about whether Mr. Earvin sustained damages as a

result of any misconduct of other Defendant officers named in this Count.




Case No. 19-3010-SEM                                                                   Page 48 of 51
                       3:19-cv-03010-SEM-TSH # 104             Page 49 of 51




       ANSWER: Defendants admit the Plaintiff is claiming the damages contained in this

paragraph but deny Plaintiff is entitled to any relief against them.




       ANSWER: Defendants deny that Plaintiff is entitled to any relief as to them.




       RESPONSE: Count XI was dismissed by the Court.




       ANSWER: Defendants also demand a trial by jury.

                                         JURY DEMAND

       Defendants demand a trial by jury in this matter.

                                  AFFIRMATIVE DEFENSES

       A. Sovereign Immunity

       To the extent Plaintiff’s claims for monetary damages are against defendants in their


Case No. 19-3010-SEM                                                                  Page 49 of 51
                       3:19-cv-03010-SEM-TSH # 104          Page 50 of 51




official capacities, those claims are precluded by the Eleventh Amendment, which bars an action

for damages in federal court against a State or a State official sued in his official capacity.

Plaintiff’s claims under state law are barred by sovereign immunity and the State Lawsuit

Immunity Act.

         B. Qualified Immunity

         At all times relevant herein, defendants acted in good faith in the performance of their

official duties and without violating Mr. Earvin’s clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendants are, therefore, protected from

suit by the doctrine of qualified immunity.

         WHEREFORE, for the above and foregoing reasons, defendants respectfully request this

Honorable Court deny plaintiff any relief in this matter whatsoever and enter judgment in their

favor.

                                                     Respectfully submitted,

                                                     Brett Hendricks, Shawn Volk, Richard
                                                     Waterstraat, Shawn Conley, Philip Crary,
                                                     Robert Fishel, Daniel Lenning, and Matthew
                                                     Lindsey,

                                                            Defendants,
Laura K. Bautista #6289023
Assistant Attorney General                           KWAME RAOUL, Attorney General,
500 South Second Street                              State of Illinois,
Springfield, Illinois 62701
Telephone:      (217) 782-5819                              Attorney for Defendants,
Facsimile:      (217) 524-5091
E-mail:lbautista@atg.state.il.us                     By:    s/Laura K. Bautista
                                                            Laura K. Bautista
                                                            Assistant Attorney General




Case No. 19-3010-SEM                                                                 Page 50 of 51
                       3:19-cv-03010-SEM-TSH # 104      Page 51 of 51




                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

LARRY PIPPION, as Representative of )
the Estate of Larry Earvin,         )
                                    )
            Plaintiff,              )
                                    )
      -vs-                          )           No. 19-3010-SEM
                                    )
SGT. WILLIE HEDDEN, LT. BENJAMIN )
BURNETT, LT. BLAKE HAUBRICH,        )
C/O ALEX BANTA, WARDEN              )
CAMERON WATSON, ASST. WARDEN )
STEVE SNYDER, Individually, et al., )
                                    )
            Defendants.             )

                              CERTIFICATE OF SERVICE

I hereby certify that on July 20, 2020 I caused to be electronically filed the foregoing,
DEFENDANTS’ HENDRICKS, VOLK, WATERSTRAAT, CONLEY, CRARY, FISHEL,
LENNING, AND LINDSEY’S ANSWER AND AFFIRMATIVE DEFENSES TO
PLAINTIFF’S FIRST AMENDED COMPLAINT with the Clerk of Court using the CM/ECF
system, which will send notification of such filing to the following:
Michael Oppenheimer                             Richard Frazier
michael@eolawus.com                             frazier@springfieldlawfirm.com

Ronak Maisuria                                  Theresa Powell
ronak@eolawus.com                               tpowell@heylroyster.com

Jon F. Erickson                                 Stanley N. Wasser
jon@eolawus.com                                 swasser@feldman-wasser.com

Remy Taborga
Ataborga@atg.state.il.us

                                         Respectfully submitted,


                                         By: s/ Laura K. Bautista
                                             Laura K. Bautista, #6289023




Case No. 19-3010-SEM                                                         Page 51 of 51
